Case 1:18-cv-00145-JMS-RT Document 226 Filed 02/18/20 Page 1 of 1 PageID.3627
AO 450 (Rev. 5/85) Judgment in a Civil Case




                                 UNITED STATES DISTRICT COURT
                                              DISTRICT OF HAWAII

 UNITED STATES OF AMERICA                                 AMENDED PARTIAL JUDGMENT
                                                             IN A CIVIL CASE
                 Plaintiff,
                                                          Case: CV 18-00145 JMS-RT
                                                                      FILED IN THE
                   V.                                        UNITED STATES DISTRICT COURT
                                                                  DISTRICT OF HAWAII

                                                                        February 18, 2020
 SANDWICH ISLES
 COMMUNICATIONS, INC., et al.                                      At 10 o’clock and 43 min a.m.
                                                                      SUE BEITIA, CLERK

              Defendants.

[ ]       Jury Verdict. This action came before the Court for a trial by jury. The issues
          have been tried and the jury has rendered its verdict.

[T] Decision by Court. This action came for consideration before the Court. The
          issues have been considered and a decision has been rendered.

    On February 3, 2020, the Court issued its Order, ECF 221: “ORDER (1)
GRANTING MOTION TO DISMISS FIRST AMENDED COUNTERCLAIM OF
SANDWICH ISLES COMMUNICATIONS, INC., ECF NO. 176; AND (2) GRANTING
MOTION FOR ENTRY OF FINAL JUDGMENT ON COUNT ONE OF THE
COMPLAINT, ECF NO. 179”(“February 3, 2020 Order”),

          IT IS ORDERED AND ADJUDGED that an AMENDED PARTIAL FINAL
          JUDGMENT, pursuant to Rule 54(b), is entered in favor of the United States and
          against Sandwich Isles Communications, Inc. as to Count I of the Complaint, in
          the amount of $138,557,635.82 pursuant to and in accordance with the February
          3, 2020 Order and the “Order Amending Judgment”, ECF No. 225, filed on
          February 18, 2020.

                 February 18, 2020                                          SUE BEITIA
 Date                                                     Clerk

                                                                       /s/ Sue Beitia by ET
                                                          (By) Deputy Clerk
